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10

11                             UNITED STATES DISTRICT COURT

12                          NORTHERN DISTRICT OF CALIFORNIA

13   THERESA SWEET, et al.,                      Case No. 3:19-cv-03674-WHA
14                    Plaintiffs,                DECLARATION OF BRANDON
                                                 BIEDERMAN IN SUPPORT OF
15          v.                                   MOTION TO INTERVENE BY
                                                 PROPOSED INTERVENOR
16   MIGUEL CARDONA, in his official capacity    EVERGLADES COLLEGE, INC.
     as Secretary of Education, and the UNITED
17   STATES DEPARTMENT OF EDUCATION,             (Class Action)
18                    Defendants.                (Administrative Procedure Act Case)
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                                                               Case No. 3:19-cv-03674-WHA
     NOTICE OF APPEARANCE OF COUNSEL FOR PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
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 1          I, Brandon Biederman, hereby declare as follows:

 2          1.      I am over the age of eighteen and competent to testify to the matters herein.

 3          2.      I have been an employee of Keiser University for twelve years. My current title is

 4   Associate Vice Chancellor of Compliance. In this role, among other responsibilities, I am

 5   responsible for advising the Chancellor and Executive Management team on relevant compliance

 6   and regulatory matters affecting Keiser University and Everglades University.

 7          3.      I have knowledge of the facts stated herein and, if called upon as a witness, I could

 8   and would testify competently thereto.

 9          4.      This declaration is submitted in support of Everglades College, Inc.‘s Motion to

10   Intervene in this action.

11          5.       Everglades College, Inc. (“ECI”) is a Florida nonprofit corporation that runs an

12   independent university system for undergraduate and graduate programs.            ECI focuses on

13   providing education to those who want to return to school to enhance or change their careers. ECI

14   accomplishes this goal through two nonprofit educational institutions: Everglades University and

15   Keiser University. These institutions collectively enroll around 20,000 students on 27 campuses,

16   in three countries, and online.

17          6.      Third parties have recognized the quality of ECI’s educational programs. U.S.

18   News and World Report has ranked Everglades University among the top 104 southern universities

19   and Keiser University among the top 300 nationally.

20          7.      Most recently, for the year 2022, Everglades University ranked tenth in Top

21   Performers on Social Mobility by U.S. News and World Report, tied #104–137 for Best Regional

22   Universities South by U.S. News and World Report, ranked thirtieth among Best Online Colleges

23   in America by Niche, and first for both Best Online Bachelor’s in Aeronautics and Aviation

24   Programs and Best Online Bachelor’s in Environmental Science Programs by Intelligent.com.

25          8.      Keiser University, in turn, has been ranked seventh by Chronicle of Higher

26   Education for four-year graduation rates for private, nonprofit, nonresidential campuses (2021–

27   2022), the seventeenth Best College in Florida by Niche.com (2022), and fifth in the United States

28   for Social Mobility according to U.S. News and World Report (2022).

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           DECLARATION OF BRANDON BIEDERMAN, Case No.: 3:19-cv-03674-WHA
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 1          9.      According to an independent study by the Washington Economics Group, Keiser

 2   University provides an annual economic impact in the State of Florida of more than $3 billion, and

 3   both directly and indirectly supports more than 30,000 Florida jobs.

 4          10.     To my knowledge, the Department of Education has not informed ECI, Everglades

 5   University, or Keiser University that any of its students or former students have filed borrower-

 6   defense applications.

 7          11.     To my knowledge, nor have ECI, Everglades, or Keiser been informed that specific

 8   members of the Sweet class are current or former students. ECI, Keiser, and Everglades first

 9   became aware of their inclusion on the list included as Exhibit C to the Proposed Settlement

10   (“Exhibit C List”) on June 22, 2022, after media outlets reported the filing of the Proposed

11   Settlement on the docket. The Department of Education has not provided ECI, Keiser, or

12   Everglades with any explanation as to why they are included on the Exhibit C list.

13          12.     It is my belief that the Department of Education’s inclusion of ECI, Keiser, and

14   Everglades on the Exhibit C List is already causing them reputational harm, as third parties are

15   treating it like a finding of wrongdoing by the schools.

16          13.     As of the date of this filing, the Department of Education has failed to provide any

17   assurances that inclusion on the Exhibit C List does not create negative financial or other

18   consequences for the schools on the list.

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           DECLARATION OF BRANDON BIEDERMAN, Case No.: 3:19-cv-03674-WHA
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